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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 BEAUMONT DIVISION

 BRETT MICHAEL BLASIRUE,                      §
                                              §
                         Petitioner,          §     CIVIL ACTION No. 1:16CV288
                                              §
 v.                                           §
                                              §     JUDGE THAD HEARTFIELD
 DALLAS JONES,                                §     MAGISTRATE KEITH F. GIBLIN
                                              §
                         Respondent.          §

                          RESPONDENT’S MOTION TO DISMISS

        Respondent, Dallas Jones, by and through Brit Featherston, Acting United States

Attorney for the Eastern District of Texas, and Michael W. Lockhart, Assistant United

States Attorney for the Eastern District of Texas, responds to the Petition for Writ of

Habeas Corpus and respectfully requests that Petitioner’s application for Writ of Habeas

Corpus be denied. Petitioner’s petition is moot as his requested relief has already been

granted: incident report 2657863, the disciplinary action at issue in this Petition, has been

expunged from Petitioner’s record, and 41 days of Good Conduct Time has been restored

to him.

                                 MEMORANDUM OF LAW

        The instant Petition was filed on July 18, 2016. [Doc. 1]. Pro se Petitioner, Brett

Blasirue, register number 68872-097, is currently incarcerated at the Federal Correctional

Complex, Medium Security Institution in Beaumont, Texas. (FCI Beaumont-Medium).

[Doc. 1 p. 1]. As a result of a disciplinary hearing that took place on December 11, 2014,



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Petitioner was disallowed 41 days of good conduct time (GCT). In his Petition,

Petitioner challenges the sufficiency of the evidence on which the Disciplinary Hearing

Officer (DHO) based her findings and asks the Court to order that he have 41 days of

good conduct time (GCT) reinstated.

I.      BACKGROUND

        On December 4, 2014, Petitioner was issued incident report 2657863 alleging that

he was in possession of Drugs/Alcohol in violation of code 113. (Exhibit A, ¶ 4). A

DHO hearing regarding incident report 2657863 was conducted by DHO Lacy on

December 11, 2014. (Id.) At the hearing, the DHO reviewed the incident report which

stated that on December 4, 2014, Petitioner was found to have on his person a small

leather pouch containing an unidentified green, leafy substance. (Id.) A staff member

took the substance to the Lieutenant’s office where it was tested using a Nik Test Kit A.

(Id.) The test indicated a positive result for amphetamines. (Id.) Based on that evidence,

the DHO found that Petitioner had committed a prohibited act, Possession of

Drugs/Alcohol, in violation of BOP disciplinary code 113. (Id. at ¶ 5) Inmate Blasirue

received the following sanctions: disallowance of 41 days of good conduct time (GCT);

30 days of disciplinary segregation, 180 days loss of commissary privileges, and 180

days loss of visitation privileges. (Id.)

        Unbeknownst to the DHO, the substance found on Petitioner was submitted by

another staff member to the Jefferson County Regional Crime Laboratory for further

testing on January 20, 2015, after the DHO hearing had been conducted and the DHO



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report issued. (Id. at ¶ 6) On January 29, 2015, the Jefferson County Regional Crime

Laboratory issued a lab report indicating that the tested substance did not contain any

identifiable controlled substance or dangerous drug. (Id.) The DHO was not informed

that further testing of the substance had occurred or of the test results, and as the DHO

hearing had already been held, there was no further review of the incident at that time.

        Petitioner filed the instant Petition to challenge the findings of the DHO on

July 18, 2016. [Doc. 1] On November 29, 2016, the Court issued an Order to Show

Cause for the Respondent to respond to Petitioner’s Habeas Petition. [Doc. 9] In

preparing its response, Respondent located and provided a copy of the Jefferson County

Regional Crime Laboratory report relating to this case to DHO Lacy on December 1,

2016. Because the report contradicted the finding at the DHO hearing, DHO Lacy

expunged incident report 2657863 from inmate Blasirue’s disciplinary record on

December 2, 2016. (Id. at ¶ 7) As a result of the expungement, inmate Blasirue has had

the 41 days of GCT restored as of December 2, 2016. (Id.)

II.     MOTION TO DISMISS

        Respondent’s Motion to Dismiss should be granted because Petitioner’s only

requested relief of having his GCT restored has already been appropriately addressed by

the Bureau of Prisons and is, therefore, moot.

        “Mootness is a jurisdictional matter implicating the requirement in Article III of

the Constitution that there be a live case or controversy.” Perez v. Director, TDCJ-CID,




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Case No. 1:10-CV-20, 2012 WL 5594613, at *1 (E.D. Tex. Oct. 9, 2012) (unpublished)1

(citing Bailey v. Southerland, 821 F.2d 277, 278 (5th Cir. 1987) (per curiam)). “A case is

moot when the issues presented are no longer live or the parties lack a legally cognizable

interest in the outcome.” City of Erie v. Pap’s A.M., 529 U.S. 277, 287 (2000) (citations

and internal quotation marks omitted). “In the context of a federal petition for habeas

relief, dismissal is appropriate on the ground of mootness when relief sought by a

petitioner is no longer available.” Perez, 2012 WL 5594613, at *1 (citing Bagwell v.

Dretcke, 376 F.3d 408, 412 (5th Cir. 2004)). A mootness argument is properly raised in a

motion to dismiss brought under Federal Rule of Civil Procedure 12(b)(1). Hutcherson v.

JPMorgan Chase Bank, N.A., Case No. 11-CV-154-KS-MTP, 2012 WL 37393, at *1

(S.D. Miss. Jan. 6, 2012) (unpublished)2.

        Since the filing of this law suit, the Bureau of Prisons has addressed Petitioner’s

concerns relating to his loss of GCT as a result of the DHO hearing at issue in this case.

Specifically, incident report 2657863 has been expunged from Petitioner’s disciplinary

record, and Petitioner’s 41 days of GCT that was disallowed was restored to him on

December 2, 2016. (Exhibit A, ¶ 7).




1
 In accordance with Federal Rule of Appellate Procedure 32.1(b), a copy of this opinion is attached as
Exhibit B to this motion.
2
 In accordance with Federal Rule of Appellate Procedure 32.1(b), a copy of this opinion is attached as
Exhibit C to this motion.

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III.    CONCLUSION

        Respondent’s Motion to Dismiss should be granted because Petitioner’s claim is

moot as the requested relief has already been provided.

        WHEREFORE, Respondent respectfully requests that the Petition for Writ of

Habeas Corpus be denied in all respects.

                                              Respectfully submitted,

                                              BRIT FEATHERSTON
                                              ACTING UNITED STATES ATTORNEY

                                              /s/ Michael W. Lockhart______
                                              MICHAEL W. LOCKHART
                                              Assistant United States Attorney
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on December 15, 2016, a true and correct copy of the

foregoing document was filed electronically with the court and has been served on the

pro se petitioner as follows:

        Brett Michael Blasirue
        Fed. Reg. #68872–097
        FCI Beaumont – Medium
        P.O. Box 26040
        Beaumont, TX 77720-6040
                                              /s/ Michael W. Lockhart______
                                              MICHAEL W. LOCKHART
                                              Assistant United States Attorney



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